     Case 1:15-cr-00045-LJO-BAM Document 168 Filed 05/10/17 Page 1 of 2


 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   MEGAN T. HOPKINS, Bar #294141
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, CA 93721-2226
     Telephone: (559) 487-5561
 5   Fax: (559) 487-5950

 6   Attorney for Defendant
     MARTIN BAHRAMI
 7
 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10
      UNITED STATES OF AMERICA,                  )   Case No. 1:15-cr-00045-LJO
11                                               )
                       Plaintiff,                )   STIPULATION TO CONTINUE
12                                               )   SENTENCING HEARING; ORDER
      vs.                                        )   THEREON
13                                               )
      MARTIN BAHRAMI,                            )   Date: January 16, 2018
14                                               )   Time: 8:30 a.m.
                      Defendant.                 )   Judge: Honorable Lawrence J. O’Neill
15                                               )
                                                 )
16
17          IT IS HEREBY STIPULATED by and between the parties hereto, and through their
18   respective attorneys of record, that the sentencing hearing set for Monday, July 24, 2017 at 8:30
19   a.m., before the Honorable Lawrence J. O’Neill, be continued to Tuesday, January 16, 2018 at
20   8:30 a.m.

21          The parties wish to trail sentencing in this matter until the case resolves as to the co-
22   defendants, who are scheduled for a trial beginning on December 11, 2017 following a recent
23   continuance in the matter.

24   ///
25   ///
26   ///
27   ///
28   ///
     Case 1:15-cr-00045-LJO-BAM Document 168 Filed 05/10/17 Page 2 of 2


 1                                                Respectfully submitted,

 2                                                HEATHER E. WILLIAMS
                                                  Federal Defender
 3
 4   DATED: May 9, 2017                           /s/ Megan T. Hopkins
                                                  MEGAN T. HOPKINS
 5                                                Assistant Federal Defender
                                                  Attorney for Defendant
 6                                                MARTIN BAHRAMI

 7
                                                  PHILLIP A. TALBERT
 8                                                United States Attorney

 9
     DATED: May 9, 2017                           /s/ Christopher Baker
10                                                CHRISTOPHER BAKER
                                                  Assistant U.S. Attorney
11                                                Attorney for Plaintiff

12
13
14                                                ORDER

15            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the sentencing hearing

16   set for Monday, July 24, 2017 at 8:30 a.m. before the Honorable Lawrence J. O’Neill be

17   continued to Tuesday, January 16, 2018 at 8:30 a.m.

18
19
     IT IS SO ORDERED.
20
21
         Dated:       May 9, 2017                          /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
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28


      BAHRAMI / Stip to Continue Sentencing Hrg     -2-
